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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

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                                   7     LINDA BRADLEY, et al.,                              Case No. 17-cv-07232-BLF
                                   8                     Plaintiffs,
                                                                                             ORDER RE JURISDICTIONAL
                                   9              v.                                         DISCOVERY, DEADLINE FOR 5AC,
                                                                                             AND PROPOSED MOTIONS
                                  10     T-MOBILE US, INC., et al.,
                                                                                             [ECF 171]
                                  11                     Defendants.

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 United States District Court




                                  13          On March 13, 2020, this Court granted Defendants’ Motion to Dismiss the Fourth Amended

                                  14   Class and Collective Action Complaint with leave to amend. ECF 169. The Court also granted

                                  15   Plaintiffs’ request for jurisdictional discovery, as narrowed by Plaintiffs’ Letter at ECF 168 to exclude

                                  16   ads that were not age-restricted. Id. at 29. The Court instructed the parties to develop a discovery plan

                                  17   and to propose a deadline for Plaintiffs to file any Fifth Amended Class and Collective Action Complaint

                                  18   (“5AC”). In a joint statement filed on March 20, 2020, the parties provided their proposals on these

                                  19   issues; they also raise a number of related disputes. ECF 171. The Court rules on these as follows.

                                  20          First, the Court adopts the parties’ jointly proposed schedule for Plaintiffs’ jurisdictional

                                  21   discovery request. That schedule is reproduced below:

                                  22
                                                                          Event                                             Deadline
                                  23    Defendants will produce non-privileged, responsive documents to             April 20, 2020, or
                                  24    Plaintiffs’ jurisdictional discovery Requests for Production (“RFP”)        earlier if feasible
                                        Nos. 1 and 2, ECF No. 165 at 9-10, in their possession, custody, or
                                  25    control, subject to the Court’s exclusion from these two requests ads
                                        that were not age-restricted. The parties agree that the relevant
                                  26    period for these two requests is between December 20, 2016 and
                                        December 20, 2017.
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                                   1    Defendants will produce any remaining non-privileged, responsive May 20, 2020, or earlier
                                        documents from RFP Nos. 1 and 2, above, and will produce if feasible
                                   2    nonprivileged, responsive documents to Plaintiffs’ RFP No. 3, ECF
                                        No. 165 at 11, in their possession, custody, or control. The parties
                                   3    agree that the relevant period for this request is between December 20,
                                        2016 and December 20, 2017.
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                                   5   ECF 171 at 1-2.

                                   6           Second, the Court DENIES Defendants’ request for jurisdictional discovery, see ECF 171 at

                                   7   4-5. At the outset, the Court notes that Defendants lodge their request for the first time in the instant

                                   8   joint statement, despite many past opportunities to do so. Moreover, though Plaintiffs justified their

                                   9   need for limited jurisdictional discovery under the present circumstances, see ECF 169 at 29,

                                  10   Defendants’ request is not similarly warranted at the pleading stage. Defendants simply seek to

                                  11   mount a factual attack on Plaintiffs’ standing, which they remain free to do at the summary judgment

                                  12   stage. Jurisdictional discovery would only unnecessarily prolong this litigation.
Northern District of California
 United States District Court




                                  13           Third, the Court adopts the parties’ jointly proposed deadline for Plaintiffs’ 5AC: June 10,

                                  14   2020. As stated in the Court’s Order on Defendants’ Motion to Dismiss the Fourth Amended Class

                                  15   and Collective Action Complaint, leave to amend was limited to the defects discussed in that order

                                  16   and in Defendants’ motion. ECF 169 at 29. Should Plaintiffs seek to add new parties or claims, or to

                                  17   add allegations that extend beyond the previously identified defects, they must file a Motion for Leave

                                  18   to Amend. The Court will not adopt any briefing schedule for that hypothetical motion at this time.

                                  19           Fourth, the Court adopts Defendants’ proposed schedule for any motion to dismiss the

                                  20   anticipated 5AC; that is, Defendants must file any such motion within 30 days after Plaintiffs file the

                                  21   5AC. The parties may reserve a hearing date for any motion to dismiss up to 14 days before filing the

                                  22   motion; note that the motion must be filed within 14 days of making the reservation, or else the

                                  23   reservation will expire. Once the motion is filed, the parties may adopt a briefing schedule, which must

                                  24   ensure that the Reply is filed at least 14 days before the hearing date. The Court also DENIES Plaintiffs’

                                  25   request to condense briefing, see ECF 171 at 6: The page limits will be the usual 25 pages for the Motion

                                  26   and Opposition and 15 pages for the Reply; no incorporation by reference of previously filed exhibits or

                                  27   other documents will be permitted.

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                                   1         IT IS SO ORDERED.

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                                   3   Dated: March 23, 2020

                                   4                                       ______________________________________
                                                                           BETH LABSON FREEMAN
                                   5                                       United States District Judge
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